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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

IMMERSION CORP.,                  §
    Plaintiff,                    §
                                  §
      v.                          §                         Case No. 2:17-cv-00572-JRG
                                  §                         Case No. 2:18-cv-00055-JRG
SAMSUNG ELECTRONICS CO., LTD. and §
SAMSUNG ELECTRONICS AMERICA, §
INC.,                             §
      Defendants.                 §




                                 AMENDED DOCKET CONTROL ORDER

       It is hereby ORDERED that the following schedule of remaining deadlines is in effect until

further order of this Court:

     Date       New Date                                      Event

 5/6/2019                      *Jury Selection – 9:00 a.m. in Marshall, Texas before Judge Rodney
                               Gilstrap

 4/8/2019                      *Pretrial Conference – 9:00 a.m. in Marshall, Texas before Judge
                               Rodney Gilstrap

 4/3/2019                      *Notify Court of Agreements Reached During Meet and Confer

                               The parties are ordered to meet and confer on any outstanding
                               objections or motions in limine. The parties shall advise the Court of
                               any agreements reached no later than 1:00 p.m. three (3) business days
                               before the pretrial conference.

 4/1/2019                      *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
                               Proposed Verdict Form, Responses to Motions in Limine, Updated
                               Exhibit Lists, Updated Witness Lists, and Updated Deposition
                               Designations
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3/25/2019             *File Notice of Request for Daily Transcript or Real Time Reporting.

                       If a daily transcript or real time reporting of court proceedings is
                       requested for trial, the party or parties making said request shall file a
                       notice with the Court and e-mail the Court Reporter, Shelly Holmes,
                       at shelly_holmes@txed.uscourts.gov.

3/15/2019              File Motions in Limine

                       The parties shall limit their motions in limine to issues that if
                       improperly introduced at trial would be so prejudicial that the Court
                       could not alleviate the prejudice by giving appropriate instructions to
                       the jury.

3/15/2019              Serve Objections to Rebuttal Pretrial Disclosures

3/8/2019               Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
                       Disclosures

2/27/2019             Serve Pretrial Disclosures (Witness List, Deposition Designations,
                      and Exhibit List) by the Party with the Burden of Proof

1/28/2019              *File Motions to Strike Expert Testimony (including Daubert
                       Motions)

                       No motion to strike expert testimony (including a Daubert motion)
                       may be filed after this date without leave of the Court.

1/28/2019              *File Dispositive Motions

                       No dispositive motion may be filed after this date without leave of the
                       Court.

                       Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                       Motions to extend page limits will only be granted in exceptional
                       circumstances. Exceptional circumstances require more than
                       agreement among the parties.

1/21/2019              Deadline to Complete Expert Discovery

1/4/2019               Serve Disclosures for Rebuttal Expert Witnesses

12/14/2018             Serve Disclosures for Expert Witnesses by the Party with the Burden
                       of Proof

12/7/2018              Deadline to Complete Fact Discovery and File Motions to Compel
                       Discovery



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 11/6/2018      11/27/2018    Deadline to Complete Mediation

                              The parties are responsible for ensuring that a mediation report is filed
                              no later than 5 days after the conclusion of mediation.


(*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
shown merely by indicating that the parties agree that the deadline should be changed.

                               ADDITIONAL REQUIREMENTS

       Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
mediator or indicates that no agreement was reached. If the parties do not reach an agreement, the
Court will appoint a mediator. The parties should not file a list of mediators to be considered by
the Court.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) copies of the
completed briefing (opening motion, response, reply, and if applicable, surreply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. For expert-related motions, complete digital copies of the
relevant expert report(s) and accompanying exhibits shall submitted on a single flash drive. These
copies shall be delivered as soon as briefing has completed.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;
(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

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       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”
     SIGNED this 19th day of December, 2011.
    So ORDERED and SIGNED this 7th day of November, 2018.




                                                ____________________________________
                                                RODNEY GILSTRAP
                                                UNITED STATES DISTRICT JUDGE




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